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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


JEREMY GUSLOFF,
individually and on behalf of
all those similarly situated,
                                                  Case No. 21-cv-662-wmc
                    Plaintiff,

      v.

QUINCY BIOSCIENCE HOLDING COMPANY, INC.,

                    Defendant.


       ORDER GRANTING APPROVAL OF SETTLEMENT AGREEMENT
                 AND DISMISSAL WITH PREJUDICE


      The Court, having considered the parties’ Joint Motion for Court Approval of

Confidential Settlement and Dismissal with Prejudice, finds that the parties’

proposed settlement agreement is fair, reasonable, and adequate.



                                     ORDER

IT IS ORDERED that:

      1) The parties’ Joint Motion for Court Approval of Settlement Agreement and

           Dismissal with Prejudice is GRANTED.

      2) Counsel for Plaintiff Jeremy Gusloff is AWARDED $7,000 in attorney fees

           and costs.

      3) This lawsuit is DISMISSED with prejudice.
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Entered this       day of ____________, 2022.

                           BY THE COURT


                           WILLIAM M. CONLEY
                           District Judge




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